Case 3:20-cv-00457-TAD-KLH Document 9 Filed 06/04/20 Page 1 of 1 PageID #: 59



                            UNITED STATES DISTRICT COURT

                           WESTERN DISTRICT OF LOUISIANA

                                      MONROE DIVISION


AZALEA WOODS OF OUACHITA, ET AL.                      CIVIL ACTION NO. 3:20-CV-00457

VERSUS                                                JUDGE TERRY A. DOUGHTY

PEOPLES REPUBLIC OF CHINA, ET AL.                     MAG. JUDGE KAREN L. HAYES


                                              ORDER

       Pending before the Court is a motion by David Andrew Christenson to file an amicus

brief [Doc. No. 8] in this matter. Mr. Christenson is not a party, has not moved to intervene in

this case, and has not indicated that he represents any interests other than his own. Mr.

Christenson does not indicate that he is an attorney, and, at any rate, he is not admitted to

practice in this jurisdiction. Rather, Mr. Christenson apparently objects to this class action as

damaging to the United States and offers his theories on the state of the country and past and

present events. Finally, he touts his own book.

       The Court finds no basis to grant Mr. Christenson’s motion nor does the Court believe his

brief will be helpful to the issues presented. Therefore,

       IT IS ORDERED that the motion is DENIED.

       MONROE, LOUISIANA, this 4th day of June, 2020.




                                                            TERRY A. DOUGHTY
                                                       UNITED STATES DISTRICT JUDGE
